898 F.2d 145Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert Clifton JOHNSON, Jr., Petitioner-Appellant,v.Siebert STEPHEN;  Clifton T. Perkins Hospital Center;Attorney General of the State of Maryland,Respondents-Appellees.
    No. 89-7729.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 31, 1989.Decided:  Feb. 23, 1990.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Edward S. Northrop, Senior District Judge.  (C/A No. 89-1840-N)
      Robert Clifton Johnson, Jr., appellant pro se.
      D.Md.
      DISMISSED.
      Before DONALD RUSSELL, WIDENER and PHILLIPS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Robert Clifton Johnson, Jr., seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the resoning of the district court.  Johnson v. Stephen, C/A No. 89-1840-N (D.Md. June 28, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    